                                                                                          GOVERNMENT
                                                                                            EXHIBIT

                                                                                                A
                                        CERTIFICATION                                     3:22-cv-00828


        The undersigned First Assistant United States Attorney, pursuant to the provisions of 28

U.S.C. § 2679, and by virtue of the authority vested in me by the Attorney General under 28 C.F.R.

§ 15.3, hereby certifies that I have read the Complaint in this action.             On the basis of the

information now available with respect to the incident alleged therein, I find that the individual

Defendant, Lindsey McDonald, was acting within the scope of employment as an employee of the

United States Postal Service, at the time of the alleged incident.

Dated    Aug
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                                                      First Assistant United States Attorney
                                                      Northern District of Ohio
